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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )         4:09CR3044-5
             Plaintiff,                    )
                                           )
      vs.                                  )         MEMORANDUM
                                           )         AND ORDER
BELINDA ROGERS,                            )
                                           )
             Defendant.                    )

      On the oral motion of the defendant,

      IT IS ORDERED that:

       1.    The hearing on the defendant’s anticipated plea of guilty is rescheduled
before the undersigned United States district judge to the 25th day of September, 2009,
at the hour of 10:00 a.m., in Courtroom No. 1, United States Courthouse and Federal
Building, 100 Centennial Mall, North, Lincoln, Nebraska.

       2.    For this defendant, the time between today’s date and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. sec. 3161(h)(1)(I)&(h)(8)(A)(B).

      August 31, 2009.                         BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge
